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 1    MARY SCHULTZ                                              The Hon. Thomas O. Rice
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 6
 7
                        UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF WASHINGTON
 9
      ERIN FRANKLIN, as an individual               Case No. 2:23-cv-00338-TOR
10
      Plaintiff, and the ESTATE of JOHN
                                                    PLAINTIFFS’ REPLY IN
11    FRANKLIN, by and through Personal
                                                    SUPPORT OF ATTORNEY FEES
12    Representative Erin Franklin; BROCK
      FRANKLIN, BLAKE FRANKLIN,
13                                                  Hearing Date: March 4, 2024
      and AVERY FRANKLIN,
                                                    Without Oral Argument
14
                                 Plaintiffs,
15
      v.
16
      INTER-CON SECURITY SYSTEMS,
17    INC, and its Parent Company Inter-Con
18    Security Services, Inc., by and through
      Jordan McGhee, and Jordan McGhee,
19    in his individual and personal capacity,
20
                                 Defendants.
21
22
23           Plaintiffs reply in support of their request for an award of attorney fees and

24     costs (ECF 16) as follows.
25
26
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 1    A.    Defendant concedes the reasonableness of the hourly rate requested and the
 2
            entries listed.
 3
 4          Objections to fee bills, such as, e.g., block billing, must be stated by
 5
      specific objection to specific aspects of the claim, with particularity and clarity.
 6
 7    See, e.g., Baier v. Rohr-Mont Motors, Inc., 175 F. Supp. 3d 1000, 1024 (N.D. Ill.

 8    2016) (citation omitted). Defendant does not dispute the hourly rate requested by
 9
      Plaintiffs, nor the time expended, nor assert any particularized objections.
10
11    Plaintiffs’ request should be deemed reasonable.
12
            In Baier, a plaintiff submitted a response to a motion for summary
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14    judgment totaling 16 pages, relying on ten exhibits, addressing “issues that are
15
      fairly common, and did not require a particularly deep or otherwise complex
16
      review of current law,” yet “spent approximately 200 total hours preparing their
17
18    response brief; including 66 hours spent by one attorney on the statement of facts
19
      alone." Baier, at 1022. The court notes, “The total time spent by counsel on the
20
21    response brief is equivalent to one attorney working 40-hour weeks for five
22
      weeks." Id. The court reduced that time by 40 hours, still awarding 160 hours of
23
24    time for responding to a summary judgment motion. In, e.g., In re Nicole Gas
25    Prod., Ltd., 542 B.R. 204, 210 (Bankr. S.D. Ohio 2015), aff'd, 581 B.R. 843
26
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 1    (B.A.P. 6th Cir. 2018), aff'd sub nom. Nicole Gas Prod., Ltd., 916 F.3d 566 (6th
 2
      Cir. 2019), a court awarded $91,068 of fees to a party making a successful
 3
 4    contempt showing, which time was reduced from the hours expended when the
 5
      movant agreed certain entries were not intended to be included. This matter
 6
 7    resonates with both rulings, because the way Defendant presented its removal

 8    issue required Plaintiffs’ responsive fact investigation, evidentiary showings, and
 9
      research and presentation of procedural and substantive law. ECF 3-6; ECF 10.
10
11    Plaintiffs’ time was recorded at 56.3 hours and is reasonable. ECF 17, para. 5.
12
      The time spent of 6.2 hours preparing the fee motion is reasonable, and is already
13
14    substantially reduced by Plaintiffs’ use of materials previously submitted in other
15
      matters, with certain updates. No additional time is requested for this reply.
16
      Plaintiffs request that this Court find that the hours expended, at the hourly rate
17
18    identified, are fair and reasonable given the lack of specific objection, and the
19
      issues and timing presented.
20
21    B.    Defendant’s evidence supports its withholding its employee’s identity and
22
            citizenship because it knew this information would defeat diversity
23
24          jurisdiction.
25          "[O]ne of the major objectives of an award of costs and fees is to deter
26
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 1    improper removals because they delay case resolution, impose additional costs on
 2
      both parties, and waste judicial resources.” Perkumpulan Inv. Crisis Ctr. Dressel
 3
 4    WBG v. Sherer, 2015 WL 730025, at *7 (D. Utah Feb. 19, 2015). This was an
 5
      improper removal. Defendant does not identify any difficulty it may have had in
 6
 7    discerning the identity or citizenship of its guard at the outset. It admits that it

 8    removed the case on November 17, 2023, knowing that its answers to discovery
 9
      were due in only days. Declaration of Yakely, ECF 18, para. 2 (Defense counsel
10
11    told Plaintiffs’ counsel “Given the federal rule that discovery is not considered
12
      served until after the status conference, Plaintiffs’ discovery was not time
13
14    sensitive.”). Defendant calculated a removal time frame for the apparent purpose
15
      of delay: “Plaintiffs’ discovery requests were due December 4, 2023 (40 days after
16
      the service of the summons and complaint). Removal occurred before the
17
18    expiration of those 40 days…” ECF 19, p. 2: 10-15. The day it removed the case,
19
      defense counsel then told Plaintiffs’ counsel that, “since we are in federal court
20
21    you can’t serve discovery until after our status conference and it is subject to time
22
      limitation.” ECF 18, p. 2: 15-19; also see Yakely, ECF 19-3, p.3. This is direct
23
24    evidence of removal being used to delay filing an answer to the complaint and
25    returning discovery answers while particularly avoiding disclosure of the
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 1    citizenship that would destroy diversity jurisdiction. Consistently, Defendant
 2
      continued withholding the guard’s identity when asked directly on November 26,
 3
 4    2023. Yakely, ECF 19-3, p. 2. By email of December 8, 2023, Inter-Con offered
 5
      to answer the complaint. ECF 19-4. The offer was further delay. Fed. R. Civ. P.
 6
 7    81 requires that any defendant who did not answer before removal “must answer

 8    or present other defenses or objections under these rules within the longest of”
 9
      three periods, and Defendant did not comply with any of the periods. Id.
10
11    (referencing the periods as 21 days after receiving-a copy of the initial pleading
12
      stating the claim for relief, 21 days after being served with the summons for an
13
14    initial pleading on file at the time of service; or 7 days after the notice of removal
15
      is filed.). Plaintiffs told Defendant of this rule requirement in the Exhibit
16
      Defendant presents. ECF 19-3, p. 7 (Schultz, at 9:43 pm). Plaintiff offered to allow
17
18    Defendant until November 24, 2023 to answer. Id. Defendant did not do so.
19
      Plaintiff did not move for remand until December 1, 2023. ECF 6. Defendant had
20
21    not answered. Defendant has not answered any complaint to this date. Declaration
22
      of Mary Schultz, at para. 3. Defendant states that Plaintiff should have acted on a
23
24    news story. That is improper when accusing someone of a homicide. Id., at para.
25    2. Defendant also avoids the issue. Diversity never existed, and Defendant knew
26
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 1    it. Defendant did not respond to confirm the identity and citizenship of its guard
 2
      when Plaintiffs moved to amend the complaint to add “Jordan McGhee” as the
 3
 4    John Doe Security guard. Defendants’ response states that it disagrees with the
 5
      facts asserted: “While Defendant does not agree with facts asserted… Defendant
 6
 7    believes it is in the interests of judicial economy not to oppose the Motion.” ECF

 8    9, p. 1. Defendant’s responsive memoranda to Plaintiffs’ remand motion skirts the
 9
      issue. ECF 7 p. 6:14-17 (stating, “The only ‘local resident’ noted in Plaintiffs’
10
11    motion as having any employment connection with Defendant is the ‘Doe security
12
      guard.’”). This Court deemed this latter statement to be acknowledgement of the
13
14    security guard’s identity and citizenship. ECF 15, p. 7:7-8 (“Defendants do not
15
      oppose his addition or dispute his citizenship.”). Defendant’s withholding of the
16
      identity and citizenship of its guard cannot be other than intentional because of the
17
18    known diversity destroying facts from the outset. The removal was for purposes
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      of delay and increased costs to Plaintiffs, as best evidenced by the statement “since
20
21    we are in federal court you can’t serve discovery until after our status conference
22
      and it is subject to time limitation.” ECF 18, p. 2: 15-19; ECF 19-3, p. 3.
23
24    Defendant’s diversion of this case to this federal court, and its withholding of
25    diversity destroying evidence known to it, is not meaningfully justified by its
26
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 1    response.
 2
             As to federal enclave jurisdiction, Defendant could have reduced costs and
 3
 4    fees by agreeing to remand when loss of diversity jurisdiction was plain. Instead,
 5
      Defendant contested remand and did so in a manner that escalated the costs and
 6
 7    delay by injecting an entirely unwarranted, untimely, but legally complex, issue

 8    into the mix, which gave rise to new issues of procedural waiver, as well as
 9
      substantive federal enclave jurisdiction. Both novel issues required substantial
10
11    research and examination. Craigslist, Inc. v. Naturemarket, Inc., 694 F. Supp. 2d
12
      1039, 1068–69 (N.D. Cal. 2010). Defendant attaches an order from Guillermo
13
14    Beltran, et. al. v Inter-Con Security Systems, Inc., et al., Case No. 2:21-cv-04927-
15
      VAP-(AFMx) (C.D. CA. 2021), ECF 19-1, to claim that the Beltran ruling gave it
16
      a good faith basis for federal enclave jurisdiction. First, the order is dated two years
17
18    before Defendant declined to use the theory here. Second, Beltran concerns a class
19
      action wage and work condition suit against Defendant Inter-Con by its employees
20
21    stationed at a Nuclear Generating Station (“SONGS”) located inside Camp
22
      Pendleton, California. Here, Defendant Inter-Con’s Security guard chased private
23
24    citizens down a public road and forced them to pull into a parking lot that turned
25    out to be potentially owned by the Bonneville Power Administration (although
26
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 1    even that remains unclear given that Spokane County law enforcement arrived to
 2
      investigate). There are no facts nor law here to substantively support federal
 3
 4    enclave jurisdiction, but all of this had to be researched and written. Defendant’s
 5
      unwarranted and belated raising of federal enclave jurisdiction is not meaningfully
 6
 7    justified by its response. Defendants’ tactics required substantial work by

 8    Plaintiffs, and, in all fairness, Defendant should be required to reimburse Plaintiffs
 9
      for the work unnecessarily caused.
10
11                        DATED this 22nd day of February, 2024.
12
                          MARY SCHULTZ LAW, P.S.
13
14                        /s/Mary Schultz
                          Mary Schultz, WSBA #14198
15
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 1                             CERTIFICATE OF SERVICE
 2
           The undersigned certifies that on the 22nd day of February, 2024, she filed
 3
 4     and served the foregoing document to all counsel and parties using the Eastern
 5
       District of Washington’s electronic CM/ECF system, which will automatically
 6
 7     serve notice to all attorneys who have appeared in this action and registered with

 8     the U.S. District Courts’ e-filing system. Plaintiffs are not aware of any non-
 9
       CM/ECF participants.
10
11                       Dated this 22nd day of February, 2024.
12
                         MARY SCHULTZ LAW, P.S.
13
14                       /s/Mary Schultz
                         Mary Schultz, WSBA # 14198
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